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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION
                              Case No.: 6:20-cv-0303-ADA

 PRECIS GROUP LLC,
          Plaintiff,
 v.
 TRACFONE WIRELESS, INC.,
       Defendant.
 _____________________________________/

       DEFENDANT TRACFONE’S OPPOSED MOTION FOR DECISION ON
      ITS PENDING VENUE MOTION PRIOR TO THE MARKMAN HEARING

        Defendant TracFone Wireless, Inc. (“TracFone”) moves for a decision on its

pending Motion to Dismiss For Improper Venue or to Transfer to the Southern District

of Florida (the “Venue Motion”) [ECF No.12] prior to the Markman hearing, which is

scheduled to be conducted via Zoom videoconference on December 29, 2020. [ECF No. 36].

        Plaintiff opposes this motion, with the position that it “think[s] the Court should

take up the motion to transfer as it sees fit.”

        TracFone filed the Venue Motion on June 22, 2020 and it has been is fully briefed

and ready for decision since July 14, 2020. [ECF No. 17]. TracFone also moved to stay

the case pending resolution of the Venue Motion. [ECF No. 25] and [ECF No. 27].

TracFone also noted its position that the Venue Motion should be resolved before the

Markman proceeding in its initial Markman brief. [ECF No. 29, p. 1, fn. 2].

        The Federal Circuit has repeatedly instructed that resolution of a venue motion

should take priority over substantive portions of the case. In re Nintendo Co., 544 F.

App’x 934, 941 (Fed. Cir. 2013) (“a trial court must first address whether it is a proper

and convenient venue before addressing any substantive portion of the case”) (emphasis

added) (citing In re Horseshoe Entm’t, 337 F.3d 429, 433 (5th Cir.2003) (“[The] motion [to




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transfer] should have taken a top priority in the handling of this case by the…District

Court.”) (bracketed text and ellipsis in original); In re EMC Corp., 501 F. App’x 973, 975

(Fed. Cir. 2013) (acknowledging the “importance of addressing motions to transfer at the

outset of litigation”).

        And just last month, in a published opinion the Federal Circuit held that

“[a]lthough district courts have discretion as to how to handle their dockets, once a party

files a transfer motion, disposing of that motion should unquestionably take top priority.”

In re Apple Inc., 979 F.3d 1332, 1337 (Fed. Cir. 2020) (emphasis added) (citing In re

Nintendo and In re EMC); accord Enplanar, Inc. v. Marsh, 11 F.3d 1284, 1291 (5th Cir.

1994) (affirming the district court’s decision to deny merits-related discovery pending

ruling on a motion for change of venue); Klein v. Silversea Cruises, Ltd., 2014 WL

7174299, at *2 (N.D. Tex. Dec. 16, 2014) (Horan, J.) (citing Enplanar and staying

consideration of merits aspects of case pending resolution of venue challenge.).

        TracFone therefore respectfully requests that the decision on the venue motion be

issued prior to addressing the Markman aspect of the case.

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